Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 1 of 23




                     EXHIBIT 45
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 2 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 3 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 4 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 5 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 6 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 7 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 8 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 9 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 10 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 11 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 12 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 13 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 14 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 15 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 16 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 17 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 18 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 19 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 20 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 21 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 22 of 23
Case 1:14-cv-14176-ADB Document 419-45 Filed 06/15/18 Page 23 of 23
